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                   UNITED STATES DISTRICT COURT
                      DISTRICT OF MINNESOTA

UNITED STATES OF AMERICA

     v.                                 Criminal No. 16-CR-338 (MJD/FLN)


ADAM J. BURKE, et al.
___________________________________________

UNITED STATES OF AMERICA

     v.                                 Criminal No. 16-CR-339 (WMW/KMM)

PRESTON E. FORTHUN, et al.
___________________________________________

UNITED STATES OF AMERICA

     v.                                 Criminal No. 16-CR-340 (PJS/BRT)

HUY NGOC NGUYEN, et al.
___________________________________________

UNITED STATES OF AMERICA

     v.                                 Criminal No. 16-CR-341 (DWF/SER)

ANGELA A. SCHULZ, et al.
___________________________________________

UNITED STATES OF AMERICA

     v.                                 Criminal No. 16-CR-343 (DWF)

DARRYL MICHAEL HUMMENY
___________________________________________

UNITED STATES OF AMERICA

     v.                                 Criminal No. 16-CR-344 (DWF)

MARYLN CHARLES COMES
___________________________________________
             CASE 0:16-cr-00344-MJD Doc. 3 Filed 12/22/16 Page 2 of 2




               NOTICE TO THE COURT OF POSSIBLE RELATED CASES

       The undersigned attorney hereby notifies the Court and counsel that the above-captioned

cases are related for the following reasons:

■      Cases that arise out of the same investigation and have temporal proximity.
■      A subsequent case results from cooperation rendered by a defendant or defendants in a
       previous case whether open or closed.
■      The cases stem from an investigation of a common organization; e.g., a particular
       gang, corporation, financial institution, etc., and the cases involve common personnel
       and/or factual scenarios.

Dated: 12/22/2016                                  Respectfully submitted,
                                                   ANDREW M. LUGER
                                                   United States Attorney
                                                   s/John E. Kokkinen
                                                   BY: JOHN E. KOKKINEN
                                                   Assistant United States Attorney
                                                   Attorney ID No. 0388356




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